           Case 22-40693               Doc 425         Filed 07/03/24 Entered 07/04/24 00:33:42                                       Desc Imaged
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                                                              United States Bankruptcy Court
                                                                District of Massachusetts
In re:                                                                                                                 Case No. 22-40693-cjp
Solar Wolf Energy, Inc.                                                                                                Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0101-4                                                  User: admin                                                                Page 1 of 8
Date Rcvd: Jul 01, 2024                                               Form ID: pdfgen                                                         Total Noticed: 311
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 03, 2024:
Recip ID                   Recipient Name and Address
db                     +   Solar Wolf Energy, Inc., 582 Wauwinet Road, Barre, MA 01005-9114
cr                     +   Albert Inglesi, 80 Mattakese Rd., West Yarmouth, MA 02673-5055
cr                     +   Anthony Iani, 70 Midstream Dr, S. Yarmouth, MA 02664-1320
cr                     +   Arnold and Patricia Vecchione, 40 Killan Rd., Johnston, RI 02919-1904
cr                         Barbara Lavoine, 16 Still Brook Rd, S. Yarmouth, MA 02664-4036
cr                         Christopher Paquette, 26 Edson Avenue, Rutland, MA 01543
cr                     +   Consolidated Electrical Distributors, Inc. d/b/a C, 595 Copeland Mill Rd., Suite 2B, Westerville, OH 43081-8908
acc                    +   Craig R. Jalbert, Verdolino & Lowey, PC, 124 Washington St., Foxborough, MA 02035-1368
cr                     +   Cynthia I. Berk, 55 Marshside Dr, Yarmouth Port, MA 02675-1568
cr                     +   Daniel Crowley, 82 Wimbledon Dr., West Yarmouth, MA 02673-5848
cr                     +   David Witter, 175 Beacon St., Yarmouth, MA 02664-1855
cr                     +   Eduard Senteio, 27 Winter Street, Yarmouth Port, MA 02675-1247
cr                     +   Emily W Woudenberg, 68 Marsh Side Drive, Yarmouth Port, MA 02675-1567
cr                         Isabella M Roy, 50 Craig St, Rochdale, MA 01542-1002
cr                     +   James J. Pfeffer, 41 Raymond A. Sampson Rd., North Attleborough, MA 02760-6722
cr                     +   Jami Carder, 223 West Great Western Road, Yarmouth, MA 02675-2501
cr                     +   Janis Brinker, 55 Marshside Dr, Yarmouth Port, MA 02675-1568
cr                     +   Joseph Antonelli, 80 Mattakese Rd, Unit 5, West Yarmouth, MA 02673-5055
cr                     +   Judith A Kozak, 108 Drew Blvd, Orange, MA 01364-2117
cr                     +   Kevin Donahue, 45Mooring Ln, South Yarmouth, MA 02664-2217
cr                     +   Larry Kukaszewicz, 333 Chapman St., Canton, MA 02021-2005
cr                     +   Laura & Doug Sherman, 18 Pinnacle Lane, Yarmouth, MA 02675-2169
cr                     +   Michael A. Procopio, 24 Moran Cr., Sudbury, MA 01776-3440
cr                     +   Michael Kiehnau, 303 Route 6A, Yarmouthport, MA 02675-1817
cr                     +   Michael Ritter, 54 Wainwright St. #2, Dorchester, MA 02124-2418
cr                     +   Nicholas J. Oliveira, 1 South Meadow Road, Plymouth, MA 02360-4767
cr                     +   Pamela Rego, 939 West Yarmouth Road, Yarmouth, MA 02675-1949
auc                    +   Paul Saperstein, Paul Saperstein Co., Inc., 148 State Street, Boston, MA 02109-2506
intp                   +   Randy Lloyd, 645 Church St., Whitinsville, MA 01588-2116
cr                     +   Richard J. Montague, 9 Park Avenue, Holden, MA 01520-3019
cr                     +   Tracy Gabridge, 44 Willow St, Florence, MA 01062-2640
cr                     +   Wilder Tamayo, c/o Michael J. Riley, Esq., 1400 District Ave., S-100, Burlington, MA 01803, UNITED STATES 01803-5235
cr                     +   William Kennedy, 62 Midstream Dr., S. Yarmouth, MA 02664-1320
cr                     +   Yako K. Yako, 4 Christopher Dr., Grafton, MA 01519-1067
20724166               +   Aaron Kimmel, 18 Cottonwood Street, Yarmouth Port, MA 02675-2323
20724167               +   Aastha Chaturvedi, 16 Hedgefield Road, Orange, CT 06477-2227
20724168               +   Albert Inglesi, 80 Mattakese Road #2, West Yarmouth, MA 02673-5055
20724169               +   Amy Grant, 56 Alton Street, Providence, RI 02908-4605
20724171              #+   Andrew Baxter, 17 Dettling Road, Maynard, MA 01754-2154
20724172               +   Andrew Cefalu, 1 Wilson Lane, Charlton, MA 01507-1240
20721868              #+   Andrew G Baxter, 17 Dettling Road, Maynard, MA 01754-2154
20724173               +   Andy Sharr, 17 Arrowhead Avenue, Auburn, MA 01501-2314
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20724174         +   Anthony Iani, 70 Midstream Drive, South Yarmouth, MA 02664-1320
20721996         +   Arvin Nundloll, 20 Elisha Witherell Road, Wellfleet, MA 02667-7819
20722458         +   Barbara A Lavoine, 16 Still Brook Rd, S. Yarmouth, MA 02664-4036
20734207         +   Barbara Wasley, 316 Long Pond Drive, So Yarmouth, MA 02664-4172
20724180         +   Bill Cardalino, 341 Plymouth Avenue, Marshfield, MA 02050-3802
20724181             Brian Daniels, 17 Jet Way, Dennis, MA 02638
20724210         +   CT Corporation Systems, P.O. Box 2576, Springfield, IL 62708-2576
20724182         +   Cabot House, 10 Industrial Way #3, Amesbury, MA 01913-3222
20733955         +   Cabot House, Inc., c/o John G. Hofmann, 101 Merrimac Street, P.O. Box 9601, Boston, MA 02114-9601
20724183         +   Camilla Flannery, 4 Melva Street, South Yarmouth, MA 02664-5623
20723918         +   Cari Brown, 5 Parallel St, Arlington, MA 02474-3211, ,
20724185         +   Carolyn & Ralph Lodders, 3 Belvedere Terrace, Yarmouth Port, MA 02675-1302
20723194         +   Carolyn Lodders, 3 Belvedere Terrace, Yarmouth Port, MA 02675-1302
20724186         +   Chan Huu Nguyen, 5 Elmire Avenue, Worcester, MA 01604-2323
20724187         +   Chris Ciuchta, 1A Applebee Avenue, Webster, MA 01570-3449
20724188         +   Chris George, 947 Route 6A, Yarmouth Port, MA 02675-2171
20724189             Chris Paquette, 26 Edson Avenue, Rutland, MA 01543
20733615         +   Christina M. Volpe, 1010 Washington Boulevard, Suite 800, Stamford, CT 06901-2202
20724190         +   Christine and Erik Bennett, 105 Oak Street, Winchendon, MA 01475-1537
20724191         +   Christopher Ashe, 42 Logan Street, Cherry Valley, MA 01611-3269
20723558         +   Christopher C. Paquette, 26 EDSON AVE, PO Box 502, Rutland, MA 01543-0502
20724192         +   Christopher George, 303 Route 28, West Yarmouth, MA 02673-4661
20724193         +   Christopher Kam, 22 Nichols Lane, Hope Valley, RI 02832-1708
20724203         +   Christopher Rodwill, 26 Mayflower Circle, Leicester, MA 01524-1608
20724204         +   Claire Bourdeau, 359 Route 6A, Yarmouth Port, MA 02675-1819
20724205         +   Clarence Saint-Vil, 6 Pauls Drive, Spencer, MA 01562-1348
20724206         +   Colin Misquita, 127 Florence Road, Lowell, MA 01851-3503
20724207         +   Consolidated Electric, 1920 Westridge Drive, Irving, TX 75038-2901
20724209         +   Craig Ferrari, 35 Ginger Lane, Torrington, CT 06790-2545
20739716         +   Craig Ferrari, c/o Thomas J. Lengyel, Esq., 167 Cherry Street/Suite #211, Milford, CT 06460-3466
20722902         +   Cynthia L. Berk and Janis E. Brinker, 55 Marshside Drive, Yarmouthport, MA 02675-1568
20724229         +   DLR, Inc., P.O. Box 520382, Salt Lake City, UT 84152-0382
20724211         +   Damion Campbell, 27 Davis Road, South Yarmouth, MA 02664-4103
20724212         +   Dan Grenon, 8 Douglas Road, Webster, MA 01570-3200
20727054         +   Daniel A. Kohnfelder, 41 COTTAGE DRIVE, WEST YARMOUTH, MA 02673-3540
20724214         +   Daniel Kohnfelder, 41 Cottage Drive, West Yarmouth, MA 02673-3540
20722002         +   Daniel Long, 27 Pine St, Yarmouth Port, MA 02675-1838
20724216             Darlynn Oberg, 1250 Jackson Road, Hardwick, MA 01037
20724217         +   Darrell Smith, 37 Woodland Road, Auburn, MA 01501-2149
20724218         +   Dave Morley, 2 Duck Poind Road, Yarmouth Port, MA 02675-2325
20724219         +   David Levine, 8 Femia Road, Framingham, MA 01701-4514
20724220         +   David Maki, 65 Bog Road, Marstons Mills, MA 02648-1421
20724221         +   David Methe, 3 Alcove Road, Southwick, MA 01077-9808
20724222         +   David Witter, 175 Beacon Street, South Yarmouth, MA 02664-1855
20734148         +   Davood Ansari Oghol Beig, 8 Adam Wheeler Lane, Holliston, MA 01746-2502
20722001         +   Dean Angelos, 4 Richard Rd, Wayland, MA 01778-4010
20724224         +   Deepak Sharma, 19 Flintlock Drive, Shrewsbury, MA 01545-3248
20724225         +   Dennis Vazquez, 38 Fay Road, Framingham, MA 01702-6814
20724226             Digital Documents Solutions, 197 Plymouth Avenue, Fall River, MA 02721
20724227         +   Dimitar Ivanov, 9 Ruby Street, West Yarmouth, MA 02673-3647
20723266         +   Diptam Chatterjee, 6 Reuben Circle, Shrewsbury , MA 01545-8300, ,
20724230         +   Don Wolent, 559 Orchard Street, Raynham, MA 02767-5307
20724232         +   Donald Logan, 23 University Street, Leominster, MA 01453-2634
20736663         +   Donald Wolent, c/o Brian J. Hughes, Esq., 174 Dean St., Unit B, Taunton, MA 02780-2792
20724233         +   Ed Senteio, 27 Winter Street, Yarmouth Port, MA 02675-1247
20724234         +   Edward Meiners, 15 Rune Stone Road, South Yarmouth, MA 02664-1324
20724235         +   Edward Owen Gee, 25 Harris Hill Road, East Falmouth, MA 02536-5180
20722276             Edward Versiackas, 281 Great Western Rd, Harwich, MA 02645-2428
20724237         +   Elizabeth Wuerz, 7 Mellen Lane, Wayland, MA 01778-2006
20724239         +   Emily Woudenberg, 68 Marshside Drive, Yarmouth Port, MA 02675-1567
20724240         +   Empower, 30 Old Kings Hwy S, #1001, Darien, CT 06820-4526
20733616         +   Empower Energy Solutions Inc. d/b/a Empower, 30 Old Kings Highway S. #1001, Darien, CT 06820-4526
20724241         +   Eric Farias, 33 Harvest Circle, West Wareham, MA 02576-2402
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20724242         +    Eric Munson, 1071 Burt Hill Road, Granville, MA 01034-9566
20724243         +    Erin Achenbach, 151 Geer Road, Danielson, CT 06239-2248
20724244         +    Evard Leonidas, 55 Eastern Ave, Fall River, MA 02723-2510
20724245         +    Frank Montani, 59 Captain Stanley Road, South Yarmouth, MA 02664-2848
20730260         +    Gary Potter, 615 HENSHAW ST., ROCHDALE, MA 01542-1215
20724247         +    Gelson Deoliveira, 10 Parkhurst Street, Milford, MA 01757-3538
20724248         +    George Bell, 58 Lookout Road, Yarmouth Port, MA 02675-1014
20724250         +    Georgia Demetriades, 65 Sierra Way, West Yarmouth, MA 02673-2624
20724251              Geraldine Kennedy, 325 Lower County Road, Dennis Port, MA 02639
20724252         +    Gerard Downing, 2 Spruce Avenue, Middletown, RI 02842-5331
20724253         +    Gerry Boucher, 33 Lake Road W, West Yarmouth, MA 02673-2724
20724254         +    Giuseppe Folco, 2 O'Hara Circle, Worcester, MA 01604-1446
20744522         +    GoodLeap, LLC, 801 SE 8th Street, Suite 21, Bentonville, AR 72712-6409
20724256         +    Graham Doolan, 31 Aspinet Road, South Yarmouth, MA 02664-5106
20724257         +    Harold Weatherwax, 36 Berkshire Drive, Ware, MA 01082-9376
20724258         +    Heritage Building, 29 Glennie Street, Worcester, MA 01605-3918
20724259         +    Hetal Hitesh Wadikar, 33 Willard Avenue, Shrewsbury, MA 01545-5263
20734343         +    Howard (& Nicole) Hecht, 69 Evelyn Road, Waban, MA 02468-1212
20724260         +    Howard Hecht, 69 Evelyn Road, Waban, MA 02468-1212
20724263         +    Intuit Payment Solutions, 21215 Burbank Blvd., Ste. 100, Woodland Hills, CA 91367-7091
20724264         +    Isabella Roy, 50 Craig Street, Rochdale, MA 01542-1002
20724265         +    Jacqueline Adalbart, 197 Canterbury Street, Worcester, MA 01603-2876
20722903         +    James J Pfeffer, 41 Raymond A Sampson Dr, North Attleborough, MA 02760-6722
20724267         +    James Reinschmidt, 6 Marla Avenue, Ledyard, CT 06339-1633
20724268         +    Jami Carder, 223 West Great Western Road, Yarmouth Port, MA 02675-2501
20724269         +    Janis Brinker, Cynthia L. Berk, 55 Marshside Drive, Yarmouth Port, MA 02675-1568
20724270         +    Jaqueline Coelho, 45 Tevyaw Road, Hyannis, MA 02601-2442
20724271         +    Jason Berry, 105 Sisters Circle, Yarmouth Port, MA 02675-1685
20724272              Jason Gianfriddo, 1007 Petersham Road, Hardwick, MA 01037
20724273         +    Jason Yelinek, 19 Haynes Hill Road, Wales, MA 01081-9753
20724274         +    Jeannie Silvestro, 55 Altons Lane, East Falmouth, MA 02536-4995
20724275         +    Jeffrey Doherty, 3 Angels Way, Hopkinton, MA 01748-2171
20724276         +    Jennifer Glasgow, 319 N. Woodstock Road, Southbridge, MA 01550-2918
20724277              Jerome Mbugua, 2 Upton Street, Cherry Valley, MA 01611
20724278              Jessica Rhodes, 99 Pompeo Road, North Grosvenordale, CT 06255
20724279          +   Jessica Sizer, 655 South Street, Barre, MA 01005-8911
20724280          +   Jim Wolf, 24 Gooseneck Road, Yarmouth Port, MA 02675-2026
20724282          +   Joe Antonelli, 80 Mattakese Road, Unit 5, West Yarmouth, MA 02673-5055
20724283          +   Joe Courcy, 655 West Hartford Avenue, Uxbridge, MA 01569-1124
20724284          +   Joe Rocha, 37 Pine Hill Lane, Marion, MA 02738-1149
20724281          +   Joe and Shirley Beuth, 161 New London Turnpike, Wyoming, RI 02898-1015
20724285          +   John Dibitetto, 14 Ruby Circle, Haverhill, MA 01835-6992
20724287          +   John Fogle, Jr., 404 Broad Street, P.O. Box 261, Nescopeck, PA 18635-0261
20724288          +   John Freeburn, 12 Sachem Path, West Yarmouth, MA 02673-5615
20724289          +   John Gigarjian, 117 West Street, Douglas, MA 01516-2120
20724290          +   John Kurth, 25 Kellogg Street, Brookfield, CT 06804-1514
20745212          +   John Nickley, 31 Peregrine Rd, Abington, MA 02351-2640
20724291          +   John Serijan, 53 Aunt Dorahs Lane, Yarmouth Port, MA 02675-2202
20724292          +   Jonas Reinheimer, 145 Fairfield Avenue, Woonsocket, RI 02895-6012
20723785          +   Jonathan Durante, 26 Dean Street, Stoneham, MA 02180-2549
20724294          +   Jorge Lomastro, 751 Washington Street, Coventry, RI 02816-5487
20724419          +   Joseph Antonelli, 1 Summit Rd, Medford, MA 02155-3010
20724295          +   Joseph Drew, 49 W. Main Street, Upton, MA 01568-1516
20724296          +   Joseph Dwelly, 8 Dunster Path, West Yarmouth, MA 02673-1513
20724297          +   Joseph Laydon, 63 Mason Road, Whitinsville, MA 01588-3303
20724298          +   Joseph Massaro, 83 Lake Shore Drive, Middlefield, CT 06455-1361
20724299          +   Joseph Njuguna, 317 Reservoir Street, Norton, MA 02766-1527
20724300          +   Joshua Uhalt, 34 Deer Ledge Lane, Wethersfield, CT 06109-3919
20736002         #+   Joshua and Melinda Prince, c/o Tamra J Evans Esq LLC, 61 Unquowa Rd, Fairfield, CT 06824-5096
20724301          +   Joyce Maria, 107 Merchant Avenue, Yarmouth Port, MA 02675-2238
20723193          +   Joyce Maria, Jon Fish, 107 Merchant Ave., Yarmouth Port. MA 02675-2238
20724302          +   Joyce McFarland, 106 Captain York Road, South Yarmouth, MA 02664-1767
20724303          +   Judith Danis, 15 Old Cedar Lane, South Yarmouth, MA 02664-1027
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20724304          +   Judy Kozak, 108 Drew Blvd., Orange, MA 01364-2117
20724305          +   Judy Presnol, 6 Tryton Avenue, Rumford, RI 02916-1834
20739727          +   Justin Ferrari, c/o Thomas J. Lengyel, Esq., 167 Cherry Street/Suite #211, Milford, CT 06460-3466
20724306          +   Justin Ferrari, 28 Buttercup Lane, New Hartford, CT 06057-3601
20724307          +   Karen Crowley, 82 Wimbledon Drive, West Yarmouth, MA 02673-5848
20724308         #+   Kathleen Henry, 16 Louise Lane, West Yarmouth, MA 02673-1431
20724309          +   Keith Gove, 268 Simsbury Road, West Granby, CT 06090-1602
20724310          +   Kenneth McCarter, 421 R S Main Street, Bellingham, MA 02019-2083
20724311          +   Kevin Bradley, 89 Baker Road, West Yarmouth, MA 02673-5801
20724312          +   Kevin Donahue, 45 Mooring Lane, South Yarmouth, MA 02664-2217
20724313          +   Kevin Jordan, 269 Sawmill Hill Road, Sterling, CT 06377-1406
20724314          +   Kevin Kauffman, 10 Bangor Road, Middletown, PA 17057-3202
20723170          +   Kevin M. Donahue, 45 Mooring Ln, South Yarmouth, MA 02664-2217
20724315          +   Kim Berner, 27 Erickson Way, South Yarmouth, MA 02664-2201
20723727          +   Kim Nelson, 29 High Bank Rd, South Yarmouth, MA 02664-3129
20724317          +   Kirk Deluca, 41 Donald Road, Burlington, MA 01803-1512
20724318          +   Kirstie Miersma, 288 Goldthwaite Road, Whitinsville, MA 01588-1320
20724319          +   Korpo Hiamah, 18 Fox Meadow Drive, Worcester, MA 01602-2229
20724320          +   Lamine Niang, 77 Mapleville Main Street, Mapleville, RI 02839-1193
20724321          +   Larry Lukaszewicz, 333 Chapman Street, Canton, MA 02021-2005
20724322          +   Laura Sherman, 18 Pinnacle Lane, Yarmouth Port, MA 02675-2169
20724323          +   Lewis Mullin, 92 Ursula Street, Lowell, MA 01854-1438
20724324          +   Louis Gatti, 111 Pond End Road, Waltham, MA 02451-0951
20724325          +   Louphye Cayemite, 56 Roseberry Road, Hyde Park, MA 02136-6144
20724326          +   Luke Benes, 60 Taunton Street, Plainville, MA 02762-2144
20736482          +   Lynn Landry, 421 South Main St, Bellingham, MA 02019-2083
20724327          +   Lynn Landry, 16 Beaver Brook Road, West Yarmouth, MA 02673-2720
20724328          +   Majid Jehangir, 481 East Street, East Weymouth, MA 02189-2203
20724329          +   Marcy Cohen, 12 St. Andrews Way, South Yarmouth, MA 02664-2047
20724331          +   Margarita Mulero, 105 Clifton Avenue, Springfield, MA 01105-1911
20724332          +   Margot and Fred Churchill, 243 Pleasant Street, South Yarmouth, MA 02664-4558
20728571          +   Marianne Sforza, 64 Hillcrest Road, Waltham, MA 02451-2233
20724333          +   Marianne Sforza, 95 Baker Road, West Yarmouth, MA 02673-5801
20724334          +   Marie Polynice, 105 Hillberg Avenue, Brockton, MA 02301-6537
20724335          +   Mark Lique, 34 Idora Avenue, Haverhill, MA 01832-4528
20724336          +   Mark Wilcox, 15 Lytherland Place, Providence, RI 02909-1905
20724337          +   Mary Johnson, 30 Wild Rose Terrace, South Yarmouth, MA 02664-1122
20719115          +   Massachusetts Deparatment of Revenue, Post Office Box 7021, Boston, MA 02204-7021
20728572          +   Masterman's LLP, PO Box 411, Auburn, MA 01501-0411
20724340          +   Meghan Ravenscroft Velez, 465 W. Denny Avenue, Pinebluff, NC 28373-8219
20724341          +   Melinda and Joshua Prince, 3 Glenarden Road, Trumbull, CT 06611-5515
20724420          +   Michael A. Procopio, 24 Moran Cir, Sudbury, MA 01776-3440
20724342          +   Michael Kiehnau, 303 Route 6A, Yarmouth Port, MA 02675-1817
20724343          +   Michael Levesque, 3 Deer Run, Hopkinton, MA 01748-2327
20734227              Michael Maresca, 77 East Palmer, Palmer, MA 01069
20725357         +    Michael P. Kelly, 46 Pond St., Holbrook, MA 02343-1219
20724344         +    Michael Valliere, 821 Franklin Street, Duxbury, MA 02332-3506
20724345         +    Mike Ford, 1035 Fairview Street, Lee, MA 01238-9306
20724346         +    Mike Hopkins, 154 Town Line Road, Burlington, CT 06013-1200
20724347         +    Mike Ritter, 54 Wainwright Street #2, Boston, MA 02124-2418
20724348              Monique Maldonado, 260 CT-198, Woodstock Valley, CT 06282
20724349         +    Murali Paladugu, 21 Skyview Drive, Millbury, MA 01527-3641
20724350         +    Nancy Douttiel, 20 Turtle Cove Road, South Yarmouth, MA 02664-4133
20724351         +    Nathaniel Shay, 58 Oakland Drive, Trumbull, CT 06611-1912
20724352         +    Neil Beauregard, 5 Oak Street, Oxford, MA 01540-2243
20722269         +    Nicholas Rotti, 20 Independence Road, West Yarmouth, MA 02673-1516
20724354         +    Nick Oliveira, 27 Ontario Drive, Hudson, MA 01749-3144
20724355         +    Nilda Chacon, 69 Mohawk Avenue, Derby, CT 06418-1330
20762495         +    Office of Consumer Affairs, and Business Regulation, 501 Boylston Street, Suite 5100, Boston, MA 02116-3797
20724356              Orange Advance, LLC, 140 32nd Street #316, Brooklyn, NY 11232
20724357         +    Pam Rego, 939 West Yarmouth Road, Yarmouth Port, MA 02675-1949
20724359         +    Patricia Doon, 56 Bray Farm South, Yarmouth Port, MA 02675-1556
20724360         +    Patricia Robinson Smith, 21 Winter Street, Yarmouth Port, MA 02675-1247
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20724358         +   Patricia and Arnold Vecchione, 40 Killian Road, Johnston, RI 02919-1904
20724361         +   Patrick Gabridge, 44 Willow Street, Florence, MA 01062-2640
20724363         +   Paul Grady, 82 Potter Hill Road, Grafton, MA 01519-1116
20724364         +   Paul Keller, 28 Robin Road, Burlington, CT 06013-2505
20738925         +   Paul L Carlson, PO Box 23, Rogers, CT 06263-0023
20724362             Paul and Jean Carlson, 119 State Avenue, Rogers, CT 06263
20724365         +   Pavel Nelyubin, 8 Spruce Street, South Yarmouth, MA 02664-5632
20731911         +   Pavel Nelyubin, 250 Hammond Pond Pkwy 1014S, Newton, MA 02467-1531
20724366         +   Pedro Amaral, 207 Fairwood Drive, Tiverton, RI 02878-2417
20738234             Peter M. Mirageas, Mirageas & Avery, 221 E. Main Street, Suite 202, Milford, MA 01757-2826
20724367         +   Peter Macy, 16 River Street, Braintree, MA 02184-3235
20724368         +   Ralph McGill, 157 Mountain Road, Ridgefield, CT 06877-1612
20739381             Ralph Robert McGill, Jr., 157 Mountain Raod, Ridgefield, CT 06877-1612
20723257         +   Raymond Huntley, 16 Rollie Shepard Dr, Millbury, MA 01527-3552
20724371         +   Rex Bradford, 166 Dudleyville Road, Leverett, MA 01054-9709
20734210         +   Rex E. Bradford, 10 Heartbreak Road, Ipswich, MA 01938-2517
20724372         +   Richard Carroll, Jr., 29 Colt Street, New Britain, CT 06052-1003
20724373         +   Richard Falco, 103 Naples Avenue, Providence, RI 02908-1223
20724374         +   Richard Montague, 47 Ash Street, Webster, MA 01570-3060
20724375         +   Richard Wasley, 316 Long Pond Drive, South Yarmouth, MA 02664-4172
20724376         +   Robert Dedominick, 3 Carven Road, Milford, MA 01757-3201
20724377         +   Robert Del Frate, 21 Valley Street, Spencer, MA 01562-2166
20724378         +   Robert Giese, 75-80 Main Street, Maynard, MA 01754-2513
20724379         +   Robert Giese, 81 Main Street, Maynard, MA 01754-2513
20724380         +   Robert Smith, 24 Pond View Drive, Coventry, RI 02816-8035
20724381         +   Robert Whritenour, 160 Hayway Road, East Falmouth, MA 02536-4510
20724024         +   Ron Medrzychowski, 73 Sand Hill Road, Voluntown, CT 06384-2308
20724382         +   Rosanne Rose, 11 Eddy Street, West Yarmouth, MA 02673-8322
20724383         +   Ruslan Afasizhev, 3 Crabtree Road, Quincy, MA 02171-1407
20724384         +   Sandra Cashen, 10 Monomoy Road, South Yarmouth, MA 02664-1974
20724385         +   Sandra Sarpong, 61 Pleasant Street, North Oxford, MA 01537-1004
20724386         +   Sarah Sharp, 30 Pine Street, Yarmouth Port, MA 02675-1837
20724387         +   Second Generation, 31 Birch Hill Road, Dennis Port, MA 02639-2602
20724388             Seth Keevnthal, 81 MA-8A, Charlemont, MA 01339
20724389         +   Shilpa Trivedi, 9 Tern Drive, Shrewsbury, MA 01545-8116
20724390         +   Shirley Anne Procopio, 24 Moran Circle, Sudbury, MA 01776-3440
20724391         +   Solar Foundations USA, Inc., 7 Lazur Road, Ballston Lake, NY 12019-1833
20724392         +   Srini Ramkumar, 31 Pal Drive, Shrewsbury, MA 01545-4351
20723524         +   Srinivasan Ramkumar, 31 Pal Dr, Shrewsbury, MA 01545-4351
20724393         +   Stacy Maillet, 937 Pleasant Street, Leominster, MA 01453-5011
20724395         +   Su Lin Sheehy, 219 West Elm Street, Pembroke, MA 02359-2123
20734610         +   SunPower Corporation and its affiliates, Mintz Levin, Attn: Ian A. Hammel, One Financial Center, Boston, MA 02111-2657
20724396         +   Sunil Yada Keerthi, 16 Skyview Drive, Millbury, MA 01527-3642
20729157         +   Susan McEwen, 2 Adams Road, West Yarmouth, MA 02673-2402
20724397         +   Suzanne Rinfret, 67 Trull Street, Somerville, MA 02145-3631
20724398         +   Suzanne Teuteberg, 155 S. Sea Avenue, West Yarmouth, MA 02673-5624
20724399         +   Taylor Bennett, 167B Main Street, Douglas, MA 01516-2151
20724400         +   Ted Strczelecki, 582 Wauwinet Road, Barre, MA 01005-9114
20724402         +   Thomas Littlewood, 244 High Meadow Lane, Mystic, CT 06355-1654
20723744         +   Thomas Nemmers, 8 Doe Road, South Yarmouth, MA 02664-1811
20724403         +   Tim Gover, 56 Williams Road, West Yarmouth, MA 02673-4639
20724404         +   Tom Lucchetti, Cumberland Carpentry, 310 West Wrentham Road, Cumberland, RI 02864-1005
20724405         +   Tom Nemmers, 8 Doe Road, South Yarmouth, MA 02664-1811
20733182         +   Tranquil Lake Nursery, 45 River Street, Rehoboth, MA 02769-1395
20724406         +   Tru Vision, 35 Harrington Avenue, Shrewsbury, MA 01545-5292
20724408         +   Valerie Serijan, 23 Canterbury Road, Yarmouth Port, MA 02675-1410
20734045         +   Vanessa Alarie, 40 wilbur Avenue, Woonsocket, RI 02895-5119
20724409         +   Vichai Levy, 51 Lota Drive, Fairfield, CT 06825-3602
20725707         +   Virginia Lee OBrien, 54 Fox Run, West Greenwich R.I.02817, West Greenwich, RI 02817-2403
20724410         +   Virginia and Ed O'Brien, 54 Fox Run, West Greenwich, RI 02817-2403
20724411         +   Weiss Landscape, 51 Taylor Avenue, Bethel, CT 06801-2449
20724412             Wilder Tamayo15 Edison Street, Saugus, MA 01906
20724413         +   William Kennedy, 62 Midstream Drive, South Yarmouth, MA 02664-1320
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Date Rcvd: Jul 01, 2024                                               Form ID: pdfgen                                                         Total Noticed: 311
20724414               +   William McEwen, 2 Adams Road, West Yarmouth, MA 02673-2402
20734627               +   William and Sarah Sharp, 30 Pine Street, Yarmouth Port, MA 02675-1837
20722459               +   Yako Yako, 4 Christopher Dr, Grafton, MA 01519-1067
20724416               +   Yves Frage, 58 Wingate Road, Holliston, MA 01746-1261
20724417               +   Zsolt Kemecsei, 11 Studley Road, South Yarmouth, MA 02664-4237
20723174               +   frederic jaffre, 78 Curley Boulevard, North Falmouth, MA 02556-2700

TOTAL: 300

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
20724176               + Email/Text: I.michel@avidiabank.com
                                                                                        Jul 01 2024 22:34:00      Avidia Bank, 42 Main Street, Hudson, MA
                                                                                                                  01749-2183
20724208               + Email/Text: Bankruptcynotice@cscglobal.com
                                                                                        Jul 01 2024 22:34:00      Corporation Services Company, P.O. Box 2576,
                                                                                                                  Springfield, IL 62708-2576
20724255               + Email/Text: accountresearch@goodleap.com
                                                                                        Jul 01 2024 22:34:00      Goodleap, 8781 Siera College Blvd, Roseville, CA
                                                                                                                  95661-5920
20724262                   Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Jul 01 2024 22:34:00      Internal Revenue Service, P.O. Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
20724338               + Email/Text: DOREBN@DOR.STATE.MA.US
                                                                                        Jul 01 2024 22:34:00      Massachusetts Deparatment of Revenue, Post
                                                                                                                  Office Box 7090, Boston, MA 02204-7090
20724339               + Email/Text: DOREBN@DOR.STATE.MA.US
                                                                                        Jul 01 2024 22:34:00      Massachusetts Department of Revenue, Post
                                                                                                                  Office Box 9564, Boston, MA 02114-9564
20719327                   Email/Text: DOREBN@DOR.STATE.MA.US
                                                                                        Jul 01 2024 22:34:00      Massachusetts Department of
                                                                                                                  Revenue-Bankruptcy Uni, PO BOX 7090, Boston,
                                                                                                                  MA 02204-7090
20738254               + Email/Text: tviveiros@somersetfcu.com
                                                                                        Jul 01 2024 22:34:00      Somerset Federal Credit Union, 740 County Street,
                                                                                                                  Somerset, MA 02726-4296
20728573                   Email/Text: _sagcallcenter@techcu.com
                                                                                        Jul 01 2024 22:34:00      Technology Credit Union, PO Box 1300, San Jose,
                                                                                                                  CA 95108-1300
20724407               + Email/Text: BhamBankruptcy@sba.gov
                                                                                        Jul 01 2024 22:34:00      U.S. Small Business Administration, 2 North 20th
                                                                                                                  Street, Birmingham, AL 35203-4007
20737193               + Email/Text: bankruptcynotices@sba.gov
                                                                                        Jul 01 2024 22:34:00      U.S. Small Business Administration, 200 West
                                                                                                                  Santa Ana Blvd., Ste 740, Santa Ana, CA
                                                                                                                  92701-7534

TOTAL: 11


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason     Name and Address
cr               *+                Andrew Cefalu, 1 Wilson Lane, Charlton, MA 01507-1240
cr               *+                Arvin Nundloll, 20 Elisha Witherell Road, Wellfleet, MA 02667-7819
cr               *+                Cari Brown, 5 Parallel Street, Arlington, MA 02474-3211
cr               *+                Colin Misquita, 127 Florence Road, Lowell, MA 01851-3503
cr               *+                Daniel Long, 27 Pine Street, Yarmouth Port, MA 02675-1838
cr               *+                Dean Angelos, 4 Richard Rd, Wayland, MA 01778-4010
cr               *+                Dimitar Ivanov, 9 Ruby Street, West Yarmouth, MA 02673-3647
cr               *+                Diptam Chatterjee, 6 Reuben Circle, Shrewsbury, MA 01545-8300
intp             *+                Frederic Jaffre, 78 Curley Blvd.,, North Falmouth, MA 02556-2700
cr               *+                Giuseppe Folco, 2 O'Hara Circle, Worcester, MA 01604-1446
cr               *+                Howard and Nicole Hecht, 69 Evelyn Road, Waban, MA 02468-1212
cr               *+                Jason Berry, 105 Sisters Circle, Yarmouth Port, MA 02675-1685
cr               *+                Jonathan Durante, 26 Dean Street, Stoneham, Ma 02180-2549
cr               *+                Joyce McFarland, 106 Captain York Rd, South Yarmouth, MA 02664-1767
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District/off: 0101-4                                               User: admin                                                              Page 7 of 8
Date Rcvd: Jul 01, 2024                                            Form ID: pdfgen                                                       Total Noticed: 311
cr                *+             Karen Crowley, 82 Wimbledon Dr., West Yarmouth, MA 02673-5848
cr                *+             Kevin Bradley, 89 Baker Road, West Yarmouth, MA 02673-5801
cr                *+             Kim Berner, 27 Erickson Way, South Yarmouth, MA 02664-2201
intp              *+             Nathaniel Shay, 58 Oakland Dr., Trumbull, CT 06611-1912
cr                *+             Nicholas Rotti, 20 Independence Road, West Yarmouth, MA 02673-1516
cr                *+             Patrick Gabridge, 44 Willow St, Florence, MA 01062-2640
cr                *+             Raymond Huntley, 16 Rollie Shepard Dr., Millbury, MA 01527-3552
cr                *+             Srinivasan Ramkumar, 31 Pal Dr., Shrewsbury, MA 01545-4351
cr                *              Susan McEwen, 2 Adams Road, West Yarmouth, MA 02673-2402
cr                *+             Suzanne Rinfret, 67 Trull St., Somerville, MA 02145-3631
cr                *+             Tom Nemmers, 8 Doe RD, South Yarmouth, MA 02664-1811
20726388          *+             Internal Revenue Service, Post Office Box 37004, Hartford, CT 06176-7004
20724170          ##+            Andrea Goldman, 60 Austin Street, Suite 210, Newtonville, MA 02460-1857
20724177          ##+            Bahaa Megelly, 14 Vassar Drive, Milford, MA 01757-1219
20724213          ##+            Dan Marder, 224 Still River Road, Harvard, MA 01451-1349
20724231          ##+            Donald Head, 9 Houlton Street, Swansea, MA 02777-4911
20724238          ##+            Emily Seco, 15 Balder Road, Worcester, MA 01605-3806
20724286          ##+            John Farias, 22 Manuel Avenue, Johnston, RI 02919-3907
20724370          ##+            Renay Lemard, 221 Billings Road, Fitchburg, MA 01420-1403
20738568          ##+            Robert David Beaulieu, 600 Main Street, Apt # 2403, Worcester, MA 01608-1980
20724394          ##+            Stefanie Argus, 88 Ring Street, Providence, RI 02909-1512

TOTAL: 0 Undeliverable, 26 Duplicate, 9 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 03, 2024                                        Signature:            /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 1, 2024 at the address(es) listed below:
Name                             Email Address
Amy Lee Lipman-White
                                 on behalf of Creditor Edward J. Versiackas alipman@lipmanwhite.com
                                 lipmanwhite@msn.com;jwhite@lipmanwhite.com;lipman-whitear69359@notify.bestcase.com

Brian J. Hughes
                                 on behalf of Creditor Donald Wolent bhughes@brcsm.com

Christine E. Devine
                                 on behalf of Creditor Andrew Cefalu christine@nicholsondevine.com devine.christiner109603@notify.bestcase.com

Christopher S. Tolley
                                 on behalf of Creditor Consolidated Electrical Distributors Inc. d/b/a CED Greentech ctolley@phillips-angley.com,
                                 moe@phillips-angley.com

Eric Thomas Thulin
                                 on behalf of Creditor Nicholas J. Oliveira eric@dgslawllp.com

Jacob P. Morris
                                 on behalf of Creditor Judith A Kozak jmorris@rrwlaw.com

Jennifer L. Conrad
                                 on behalf of Creditor Christopher Paquette jconrad@sederlaw.com

Joseph H. Baldiga
          Case 22-40693       Doc 425       Filed 07/03/24 Entered 07/04/24 00:33:42                                Desc Imaged
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District/off: 0101-4                                       User: admin                                                         Page 8 of 8
Date Rcvd: Jul 01, 2024                                    Form ID: pdfgen                                                  Total Noticed: 311
                          on behalf of Trustee Joseph H. Baldiga jbaldiga@mirickoconnell.com jhbaldiga@ecf.axosfs.com,bankrupt@mirickoconnell.com

Joseph H. Baldiga
                          jbaldiga@mirickoconnell.com jhbaldiga@ecf.axosfs.com,bankrupt@mirickoconnell.com

Mark W. Powers
                          on behalf of Creditor John Miersma mpowers@bowditch.com kkosmenko@bowditch.com

Matthew Rubner
                          on behalf of Creditor Richard J. Montague mattrubner@gmail.com

Michael J. Riley
                          on behalf of Creditor Wilder Tamayo mriley@mllsf.org mriley8oc@gmail.com;rileymr77267@notify.bestcase.com

Peter J. Haley
                          on behalf of Creditor GoodLeap LLC peter.haley@nelsonmullins.com, marie.moss@nelsonmullins.com

Richard King
                          USTPRegion01.WO.ECF@USDOJ.GOV

Richard A. Mestone
                          on behalf of Creditor Jonathan Durante richard.mestone@mestonehogan.com r62137@notify.bestcase.com

Steven J. Marullo
                          on behalf of Creditor Jonathan Durante sjmlaw@verizon.net

Troy D. Morrison
                          on behalf of Debtor Solar Wolf Energy Inc. tmorrison@morrisonlawpc.net,
                          morrisonlawpc@gmail.com;MorrisonTR39836@notify.bestcase.com


TOTAL: 17
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